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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

         HOLOGIC, INC., AND CYTYC SURGICAL
         PRODUCTS, LLC,

                       Plaintiffs,

         v.                                             C.A. No. 15-1031-JFB-SRF

         MINERVA SURGICAL, INC.,

                       Defendant.


                           [PLAINTIFFS’ PROPOSED] VERDICT FORM

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                INSTRUCTIONS: Please follow the directions provided throughout Verdict Form.

         Your answer to each question must be unanimous. Please refer to the Jury Instructions for

         guidance on the law applicable to each question. Throughout this form, “Hologic” means

         Plaintiffs Hologic, Inc. and Cytyc Surgical Products, LLC and “Minerva” means Defendant

         Minerva Surgical, Inc.




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         1.     INFRINGEMENT

                Do you find that Hologic has proven, by a preponderance of the evidence, that Minerva

         infringed any of the following claims of the Patents-in-Suit?



                You must answer YES or NO for every claim.



                YES is a finding for Hologic. NO is a finding for Minerva.




                           U.S. Patent No. 6,872,183 (“the ’183 Patent”)


                   CLAIM 7                               YES                 NO


                   CLAIM 9                               YES                 NO


                  CLAIM 11                               YES                 NO


                  CLAIM 13                               YES                 NO


                  CLAIM 14                               YES                 NO




                           U.S. Patent No. 9,095,348 (“the ’348 Patent”)


                   CLAIM 1                               YES                 NO




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                If you answered YES to at least one claim above, proceed to Question 2. If you answered

         NO to all claims above, proceed to Question 3.

         2.     WILLFUL INFRINGEMENT

                Do you find that Hologic has proven, by a preponderance of the evidence, that Minerva’s

         infringement has been willful?



                YES is a finding for Hologic. NO is a finding for Minerva.




                                              YES                 NO



                Proceed to Question 3.




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         3.     ASSIGNOR ESTOPPEL 1


                Do you find that Minerva is in privity with any of the named inventors of the Patents-in-

         Suit such as Csaba Truckai?


                                               YES                 NO



                YES is a finding for Hologic. NO is a finding for Minerva.




                Proceed to Question 4.




         1
          Although proposed herein, Hologic contends that assignor estoppel should be decided as matter
         of law pursuant to Hologic’s pending motion for summary judgment.

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         4.     INVALIDITY (ENABLEMENT UNDER 35 U.S.C. § 112) 2

                Do you find that Minerva has proven, by clear and convincing evidence, that any of the

         following claims are invalid for lack of enablement under 35 U.S.C. § 112?


                You must answer YES or NO for every claim.



                YES is a finding for Minerva. NO is a finding for Hologic.




                          U.S. Patent No. 6,872,183 (“the ’183 Patent”)


                  CLAIM 7                               YES                  NO


                  CLAIM 9                               YES                  NO


                  CLAIM 11                              YES                  NO


                  CLAIM 13                              YES                  NO


                  CLAIM 14                              YES                  NO




                          U.S. Patent No. 9,095,348 (“the ’348 Patent”)


                  CLAIM 1                               YES                  NO



                Proceed to Question 5.

         2
          Although proposed herein, Hologic contends that Minerva’s invalidity defenses and
         counterclaims are barred by assignor estoppel.

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         5.     INVALIDITY – (WRITTEN DESCRIPTION UNDER 35 U.S.C. § 112) 3

                Do you find that Minerva has proven, by clear and convincing evidence, that any of the

         following claims are invalid for lack of written description under 35 U.S.C. § 112?


                You must answer YES or NO for every claim.



                YES is a finding for Minerva. NO is a finding for Hologic.




                           U.S. Patent No. 6,872,183 (“the ’183 Patent”)


                   CLAIM 7                               YES                  NO


                   CLAIM 9                               YES                  NO


                  CLAIM 11                               YES                  NO


                  CLAIM 13                               YES                  NO


                  CLAIM 14                               YES                  NO




                           U.S. Patent No. 9,095,348 (“the ’348 Patent”)


                   CLAIM 1                               YES                  NO



                Proceed to Question 6.

         3
          Although proposed herein, Hologic contends that Minerva’s invalidity defenses and
         counterclaims are barred by assignor estoppel.

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         6.     PATENT DAMAGES

                If you found that Minerva infringed at least one valid claim of the Patents-in-Suit, what

         damages do you find that has Hologic proved, by a preponderance of evidence?




         Damages: $ _______________________________________________




                Proceed to Question 7.




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         7.     UNFAIR COMPETITION (15 U.S.C. § 1125) – HOLOGIC’S CLAIM

                7.a    Do you find that Hologic has proven, by a preponderance of the evidence, that

         Minerva engaged in unfair competition under the Lanham Act at 15 U.S.C. § 1125(a)(1)(A)?



                YES is a finding for Hologic. NO is a finding for Minerva.




                                              YES                  NO



                7.b    If you found that Minerva engaged in unfair competition under the Lanham Act,

         do you find that Hologic has proven, by a preponderance of the evidence, that Minerva’s unfair

         competition has been willful?



                YES is a finding for Hologic. NO is a finding for Minerva.


                                              YES                  NO




                Proceed to Question 8.




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         8.     DAMAGES FOR UNFAIR COMPETITION (15 U.S.C. § 1125) -
                HOLOGIC’S CLAIM



                If you found that Minerva engaged in unfair competition under the Lanham Act

         (Question 7.a), what damages do you find that Hologic has proved, by a preponderance of

         evidence?



         Damages: $ _______________________________________________




                Proceed to Question 9.




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         9.     UNFAIR COMPETITION (DELAWARE COMMON LAW) -
                HOLOGIC’S CLAIM

                9.a    Do you find that Hologic has proven, by a preponderance of the evidence, that

         Minerva engaged unfair competition under Delaware common law?



                YES is a finding for Hologic. NO is a finding for Minerva.




                                              YES                 NO



                9.b    If you found that Minerva engaged in unfair competition, do you find that Hologic

         has proven, by a preponderance of the evidence, that Minerva’s unfair competition has been

         willful?



                YES is a finding for Hologic. NO is a finding for Minerva.


                                              YES                 NO




                Proceed to Question 10.




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         10.    DECEPTIVE TRADE PRACTICES (6 DEL. C. § 2352) - HOLOGIC’S CLAIM

                10.a    Do you find that Hologic has proven, by a preponderance of the evidence, that

         Minerva engaged in deceptive trade practices under 6 Del. § 2352?



                YES is a finding for Hologic. NO is a finding for Minerva.




                                               YES                  NO



                10.b    If you found that Minerva engaged in deceptive trade practices, do you find that

         Hologic has proven, by a preponderance of the evidence, that Minerva’s deceptive trade

         practices were willful?



                YES is a finding for Hologic. NO is a finding for Minerva.


                                               YES                  NO




                Proceed to Question 11.




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         11.    TORTIOUS INTERFERENCE (DELAWARE COMMON LAW) -
                HOLOGIC’S CLAIM

                11.a   Do you find that Hologic has proven, by a preponderance of the evidence, that

         Minerva tortiously interfered with Hologic’s business relationships under Delaware common

         law?



                YES is a finding for Hologic. NO is a finding for Minerva.




                                               YES                  NO



                11.b   If you found that Minerva tortiously interfered with Hologic’s business

         relationships under Delaware common law, do you find that Hologic has proven, by a

         preponderance of the evidence, that Minerva’s tortious interference has been willful?



                YES is a finding for Hologic. NO is a finding for Minerva.


                                               YES                  NO




                Proceed to Question 12.




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         12.    STATE LAW DAMAGES – HOLOGIC’S CLAIMS



                12.a   If you found that Minerva engaged in unfair competition under Delaware

         common law (Question 9.a), deceptive trade practices (Question 10.a), or tortious interference

         (Question 11.a), what damages do you find that Hologic has proved, by a preponderance of the

         evidence?



                This amount should exclude any damages you awarded to Hologic in Question 8.



                Damages: $ _______________________________________________




                12.b   If you found that Minerva acted willfully when it engaged in unfair competition

         under Delaware common law (Question 9.b), deceptive trade practices (Question 10.b), or

         tortious interference (Question 11.b), what punitive damages, if any, do you award to Hologic?



                Punitive Damages: $ _______________________________________________




                Proceed to Question 13.




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         13.    UNFAIR COMPETITION (15 U.S.C. § 1125) – MINERVA’S CLAIM

                13.a    Do you find that Minerva has proven, by a preponderance of the evidence, that

         Hologic engaged in unfair competition under the Lanham Act at 15 U.S.C. § 1125(a)(1)(A)?



                YES is a finding for Minerva. NO is a finding for Hologic.




                                              YES                  NO



                13.b    If you found that Hologic engaged in unfair competition under the Lanham Act,

         do you find that Minerva has proven, by a preponderance of the evidence, that Hologic’s false

         advertising has been willful?



                YES is a finding for Minerva. NO is a finding for Hologic.


                                              YES                  NO



                Proceed to Question 14.




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         14.    FALSE ADVERTISING (15 U.S.C. § 1125) – MINERVA’S CLAIM

                14.a    Do you find that Minerva has proven, by a preponderance of the evidence, that

         Hologic engaged in false advertising under the Lanham Act at 15 U.S.C. § 1125(a)(1)(B)?



                YES is a finding for Minerva. NO is a finding for Hologic.




                                              YES                  NO



                14.b    If you found that Hologic engaged in false advertising under the Lanham Act, do

         you find that Minerva has proven, by a preponderance of the evidence, that Hologic’s false

         advertising has been willful?



                YES is a finding for Minerva. NO is a finding for Hologic.


                                              YES                  NO



                Proceed to Question 15.




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         15.    DAMAGES FOR UNFAIR COMPETITION AND FALSE ADVERTISING (15
                U.S.C. § 1125(a)(1)(A) and § 1125(a)(1)(B)) —MINERVA’S CLAIM



                15.a   If you found that Hologic engaged in unfair competition under the Lanham Act

         (Question 13.a), what damages do you find that Minerva has proved, by a preponderance of

         evidence?



         Damages: $ _______________________________________________




                15.b   If you found that Hologic engaged in false advertising under the Lanham Act

         (Question 14.a), what damages do you find that Minerva has proved, by a preponderance of

         evidence?



                This amount should exclude any damages you awarded to Minerva in Question 15.a.




         Damages: $ _______________________________________________




                Proceed to Question 16.




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         16.    UNFAIR COMPETITION (DELAWARE COMMON LAW) -
                MINERVA’S CLAIM



                16.a   Do you find that Minerva has proven, by a preponderance of the evidence, that

         Hologic engaged unfair competition under Delaware common law?



                YES is a finding for Minerva. NO is a finding for Hologic.




                                              YES                  NO



                16.b   If you found that Hologic engaged in unfair competition, do you find that Minerva

         has proven, by a preponderance of the evidence, that Hologic’s unfair competition has been

         willful?



                YES is a finding for Hologic. NO is a finding for Minerva.


                                              YES                  NO




                Proceed to Question 17.




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         17.    DECEPTIVE TRADE PRACTICES (6 DEL. C. § 2352) – MINERVA’S CLAIM

                Do you find that Minerva has proven, by a preponderance of the evidence, that Hologic

         engaged in deceptive trade practices under 6 Del. § 2352?



                YES is a finding for Minerva. NO is a finding for Hologic.




                                              YES                    NO




                Proceed to Question 18.




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         18.    TORTIOUS INTERFERENCE (DELAWARE COMMON LAW) -
                MINERVA’S CLAIM

                Do you find that Minerva has proven, by a preponderance of the evidence, that Hologic

         tortiously interfered with Minerva’s business relationships under Delaware common law?



                YES is a finding for Minerva. NO is a finding for Hologic.




                                              YES                 NO



                Proceed to Question 19.




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         19.    BREACH OF CONTRACT - MINERVA’S CLAIM

                Do you find that Minerva has proven, by a preponderance of the evidence, that Hologic

         breached any of its obligations under the January 6, 2010 Mutual Non-Disclosure Agreement?



                YES is a finding for Minerva. NO is a finding for Hologic.




                                              YES                 NO



                Proceed to Question 20.




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         20.    STATE LAW DAMAGES – MINERVA’S CLAIMS



                20.a    If you found that Hologic engaged in unfair competition under Delaware common

         law (Question 16.a), deceptive trade practices (Question 17.a), tortious interference (Question

         18.a), or breach of contract (Question 19.a), what damages do you find that Minerva has proved,

         by a preponderance of the evidence?



                This amount should exclude any damages you awarded to Minerva for violations of the

         Lanham Act (Questions 15.a and 15.b).



                Damages: $ _______________________________________________




                20.b    If you found that Minerva acted willfully when it engaged in unfair competition

         under Delaware common law (Question 16.a), what punitive damages, if any, do you award to

         Minerva?



                Punitive Damages: $ _______________________________________________




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                You have now reached the end of the verdict form and should review it to ensure it

         accurately reflects your unanimous determinations.



                The Foreperson should sign and date the verdict form in the spaces below and notify the

         Court Security Officer that you have reached a verdict.



                The Foreperson should retain possession of the verdict form and bring it when the jury is

         brought back into the courtroom.



         DATED: ________________________


                                                          FOREPERSON


                                                          JUROR


                                                          JUROR


                                                          JUROR


                                                          JUROR


                                                          JUROR


                                                          JUROR


                                                          JUROR




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                                     CERTIFICATE OF SERVICE

            I, Karen L. Pascale, Esquire, hereby certify that on June 11, 2018, I caused to be

   electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

   using CM/ECF (which will send notification that such filing is available for viewing and

   downloading to all registered counsel), and in addition caused true and correct copies of the

   foregoing document to be served upon the following counsel of record by electronic mail:


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